Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19         PageID.340    Page 1 of 28




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

MERCEDES BENZ USA LLC,                         2:19-CV-10948-AC-EAS
        Plaintiff and Counter-                 [Consolidated cases]
        defendant,
                                               Honorable Avern Cohn
      v.                                       District Court Judge

JAMES LEWIS,                                   Honorable Elizabeth A. Stafford
JEFF SOTO AND MAXX GRAMAJO,                    Magistrate Judge
DANIEL BOMBARDIER
                                                 DEFENDANTS’ MOTION FOR
             Defendants and Counter-
             Plaintiffs                               RECONSIDERATION


                       DEFENDANTS’
        MOTION FOR RECONSIDERATION OF MEMORANDUM
            AND ORDER DENYING MOTION TO DISMISS

      Defendants move this Honorable Court pursuant to Local Rule 7.1(h)(3) for

reconsideration of this Court’s Memorandum and Order Denying Defendants’

Motions to Dismiss [Dkt. No. 8], stating as follows:

      1. In accordance with Local Rule 7.1(a), Defendants’ undersigned counsel

conferred with opposing counsel and requested concurrence in the relief requested

herein. Opposing counsel did not concur in the relief requested thereby

necessitating the filing of this motion.


      2. The reasons and support for Defendants’ requested relief are set forth in



                                           i
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19         PageID.341   Page 2 of 28




the following Brief in Support.

      WHEREFORE, Defendants’ respectfully request that this Court grant its

Motion and enter an Order dismissing Plaintiff’s Third Claim for Declaratory

Judgment of Exemption Under the AWCPA Under 28 U.S.C. § 2201, et seq.

(Declaratory Judgment Act) and 17 U.S.C. § 101, et seq. (Copyright Act).

                                  Respectfully Submitted,


DATED: October 9, 2019
                                  By:         /s/ David Alden Erikson
                                        ERIKSON LAW GROUP
                                        David Alden Erikson
                                        200 North Larchmont Boulevard
                                        Los Angeles, California 90004
                                        Telephone: 323.465.3100
                                        david@daviderikson.com

GLUCK LAW FIRM P.C.                     LIPPITT, O’KEEFE, GORNBEIN, PLLC
Jeffrey S. Gluck                        Norman L. Lippitt (P16716)
602 N. Sweetzer Avenue                  370 E. Maple Road, Third Floor
Los Angeles, California 90048           Birmingham, MI 48009
Telephone: 310.776.7413                 248-646-8292
jeff@gluckip.com                        nlippitt@lippittokeefe.com

   Counsel for Defendants and Counter-Plaintiffs James Lewis, Jeff Soto, Maxx
                         Gramajo Daniel Bombardier




                                           ii
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19      PageID.342   Page 3 of 28




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

MERCEDES BENZ USA LLC,                      2:19-CV-10948-AC-EAS
        Plaintiff and Counter-              [Consolidated cases]
        defendant,
                                            Honorable Avern Cohn
      v.                                    District Court Judge

JAMES LEWIS,                                Honorable Elizabeth A. Stafford
JEFF SOTO AND MAXX GRAMAJO,                 Magistrate Judge
DANIEL BOMBARDIER
                                                 DEFENDANTS’ BRIEF IN
            Defendants and Counter-
            Plaintiffs                         SUPPORT OF MOTION FOR
                                                   RECONSIDERATION



           DEFENDANTS’ BRIEF IN SUPPORT OF MOTION FOR
                           RECONSIDERATION




                                      iii
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19                                   PageID.343           Page 4 of 28




                                         TABLE OF CONTENTS

TABLE OF AUTHORITIES....................................................................................vi

CONCISE STATEMENT OF THE ISSUE PRESENTED....................................vii

CONTROLLING OR MOST APPROPRIATE AUTHORITY FOR THE

RELIEF SOUGHT ................................................................................................viii

I.      INTRODUCTION .......................................................................................... 1

II.     BACKGROUND ............................................................................................ 4

        A. MBZ’s brings five declaratory relief claims, in three now-consolidated

             actions. ...................................................................................................... 4

        B. The Artists’ motion to dismiss, and MBZ’s response. .............................. 5

        C. The Court’s ruling tracked MBZ’s opposition language quoted above,

             virtually verbatim. ..................................................................................... 7

III.    THE COURT SHOULD RECONSIDER ITS RULING ............................... 7

        A. The standard on a motion for reconsideration........................................... 8

        B. Copyright protection for buildings constructed prior to 1990. ................. 9

        C. The AWCPA protected architecture for the first time, by adding

             “architectural works” as a new species of copyrightable work. ................ 9

        D. The Court wrongly conceived of Section 120(a) as generally permitting

             photography of visible buildings. ............................................................ 11



                                                            iv
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19                    PageID.344        Page 5 of 28




         1. The plain words of the Section 120 show that it qualifies only the

             new “copyright in an architectural work.” ........................................ 12

         2. The other parts of Section 120 show that the statute concerns limiting

             only architectural copyrights. ........................................................... 14

         3. That Section 120(a) is part of the AWCPA shows that it limits only

             the new copyrights created thereunder. ............................................ 15

         4. Case law support the Artists’ conception. ........................................ 15

         5. The legislative history of the AWCPA shows that it limits only the

             new copyrights created thereunder. .................................................. 17

      E. The Court should reconsider its ruling because under the Artists’ proper

         conception of Section 120(a), MBZ’s AWCPA claims should have been

         dismissed for failure to plead that the building was protectable. ............ 18




                                                 v
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19                                 PageID.345          Page 6 of 28




                                      TABLE OF AUTHORITIES

Cases

DiPonio Const. Co. Inc. v. International Union of Bricklayers and Allied

   Craftworkers, Local 9 7̧ 39 F. Supp. 2d 986 (E.D. Mich. 2010) ........................... 8

Falkner v. GM, LLC 2018 U.S.Dist.LEXIS 225991 (C.D.Cal. Sep. 17, 2018, No.

   2:18-cv-00549-SVW-JPR) .................................................................................. 16

Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340 (1991)............................ 11

Leicester v. Warner Bros., 232 F.3d 1212 (9th Cir., 2000) ...................................... 9

United States v. Lockette, 328 F.Supp.2d 682 (E.D.Mich. 2004)............................. 8

Statutes

17 U.S.C. § 101 ........................................................................................................ 5

17 U.S.C. § 102(a) .................................................................................................... 6

28 U.S.C. § 1292(b) .................................................................................................. ii

37 CFR § 202.1 ......................................................................................................... 6

C.F.R. 37 § 202.11 .................................................................................................... 1




                                                           vi
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19      PageID.346    Page 7 of 28




             CONCISE STATEMENT OF ISSUES PRESENTED

      Did the Court make a palpable error of law, in finding that 17 U.S.C.

120(a)— which provides that “the copyright in an architectural work” does not

include the right to prevent photography of the work—applies where there is no

copyright in an architectural work?




                                        vii
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19    PageID.347    Page 8 of 28




        CONTROLLING OR MOST APPROPRIATE AUTHORITY
                  FOR THE RELIEF SOUGHT

   • 17 U.S.C. §120
   • Hearing on Architectural Design Protection Before the Subcomm. on Courts,
     Intellctll Property, and the Administration of Justice of the House Comm. on
     the Judiciary, 101st Cong. 2d Sess. (1990)
   • Leicester v. Warner Brothers, 232 F.3d 1212 (9th Cir. 2000)




                                      viii
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19                       PageID.348   Page 9 of 28




                                    I.      INTRODUCTION

          The court made a palpable mistake of law when it found that Section

120(a)1— which provides that “the copyright in an architectural work” does not

include the right to prevent photography of the work—can apply even in the

absence of a copyright in an architectural work. This abstract proposition of law is

incorrect. By its terms, Section 120(a) applies only to “the copyright in an

architectural work”—something carefully defined by Congress as protecting only

“original” buildings constructed after 1990. [See C.F.R. 37 § 202.11.] If there is no

“copyright in an architectural work,” then Section 120(a) doesn’t apply. As a result

of its mistake, the Court did not recognize originality and post-1990 construction

as pleading requirements of MBZ’s claim for non-infringement under Section

120(a), and therefore wrongly denied Defendants’ motions to dismiss based on a

failure to so plead.2

          The mistake was caused by an uncritical adoption of MBZ’s interpretation of

Section 120(a), which reflects a fundamental misunderstanding of the statute. The

Court found, echoing MBZ’s brief verbatim, that Section 120(a) “establishes an

1
    All statutory references are to Title 17 of the United States Code.
2
  As explained below, there is another reason why it is undeniable that Section 120(a) has no
application in the absence of a post-1990 architectural work: because the AWCPA says so
explicitly. More specifically, the legislation provides that all of its component amendments apply
only to buildings which post-date its enactment. This provision alone renders MBZ’s
interpretation obviously incorrect. See Section 206 of the AWCPA (attached as Exhibit A for
convenience.)



                                                   1
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19               PageID.349      Page 10 of 28




important right of the public to take pictures of buildings that are publicly visible.”

[Memorandum and Order Denying Defendants’ Motions to Dismiss (Docket No.

23, “Order”), p. 10.3] It does not. Rather, Section 120(a) represents a simple

qualification or limitation on the new species of copyright Congress created as part

of the same legislation. While copyrights generally allow the holder to prevent

distribution of copies of their work (through photographs, for example), that is not

so with the new construct of a “copyright in an architectural work.”

       That this is the proper interpretation of Section 120(a) is reflected not only

by plain language of the statute, which makes clear that its limits apply only to

copyrights in architectural works—but also by the fact that it is contained in the

Architectural Works Protection Act of 1990 (“AWCPA”). As explained in the

legislative history, the sole purpose of the AWCPA was to extend copyright

protection to architecture for the first time. This is accomplished in a few lines of

the legislation (a copy of which is attached for convenience as Exhibit A).

Immediately after creating this new species of copyright, the AWCPA enacted

Section 120, which imposes several important policy-based limitations not on




3
 The documents relevant to the instant Motion (including the Court’s Memoranda and Orders)
were filed prior to the Court’s consolidation of the three cases. For the sake of clarity, and
because each Defendant made identical arguments with regard to 17 U.S.C. § 120 in their
Motions to Dismiss, all references to the filings are to those in Defendant James Lewis’s case.



                                                2
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19        PageID.350    Page 11 of 28




copyrights generally, but rather only on the new species of copyright just created

(i.e. “the copyright in an architectural work”).

      In this brief, the Artists will show that their conception of Section 120(a) is

the correct one. They will do so by pointing to the 44 words of the statute, the fact

that the statute is a part of the AWCPA, the legislative history, and case law. While

no case has ever squarely addressed this issue (because no one has ever advanced a

view like MBZ’s and this Court’s), every case that treats Section 120(a) simply

assumes its invocation requires an underlying “copyright in an architectural work.”

As explained below, even the most muscular interpretation of Section 120(a)—

Justice Tashima’s concurrence in the Leicester case—conceived of it not as

establishing a new right, but merely as limiting the AWCPA’s new species of

copyright.

      Correcting the mistake will affect the disposition of this case because MBZ’s

third claims for declaratory relief under the AWCPA would be immediately

dismissed. If the mistake is not corrected, MBZ could achieve a declaration of non-

infringement under the AWCPA for a photograph of a pre-1990 building

(assuming it can show that the Artists’ murals were part of the architecture)—even

though Congress clearly intended the legislation to apply only to post-1990

buildings.




                                           3
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19                  PageID.351       Page 12 of 28




        It’s worth noting that quite a lot is at stake for other artists as well, and

those who appreciate art—especially with respect to cases like this one where a

pictorial, graphic or sculptural (“PGS”) work exists on or in a building. 4 If the

Court is correct that Sections 120(a) established an important new general right to

photograph buildings, then street artists would face a radical new limit on their

copyright protections. If the Court is wrong, and future courts follow its reasoning,

then street artists’ rights would be significantly impacted in a way Congress did not

intend. Indeed, in the hearings and legislative history relating to the AWCPA, the

interests of architects, the public, and photographers were carefully analyzed and

balanced. That there is no consideration, or even mention, of the interests of visual

artists shows that Congress did not intend to impact them.

                                   II.     BACKGROUND

A.     MBZ brings five declaratory relief claims, in three now-consolidated
       actions.

       In each of the three consolidated actions, MBZ brings five claims for a

judicial declaration that a particular use of certain photographs does not infringe

4
  The vast majority of “street art” appears on buildings. Street art is no longer a small or
alternative segment of the art world. It is legitimate art, certainly deserving of the customary
copyright protection afforded to the visual arts. Indeed, it is fair to say that more people are
enthusiasts of street art today than of French Impressionism. This is not to say that street art is
only for the masses. Many museum shows have been devoted to the subject, including the Los
Angeles Museum of Contemporary Art’s groundbreaking Art in the Streets exhibition in 2011,
which has been estimated to be the best attended exhibit in the museum’s history. , Art in the
Streets, available at https://en.wikipedia.org/wiki/Art_in_the_Streets (last accessed October 9,
2019).



                                                  4
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19               PageID.352      Page 13 of 28




Defendants’ (hereafter referred to as the “Artists”) copyrights. This motion

concerns MBZ’s third declaratory relief causes of action (in each case), which seek

a judicial declaration “that the mural is part of an architectural work, within the

meaning of § 120(a), and is therefore exempt from protection under the AWCPA.

[Complaint (Dkt. No. 1), ¶ 64.]

       Ironically, MBZ did not assert in its Complaints that Section 120(a)

generally exempts photographs of publicly visible buildings from copyright

protection. Rather, MBZ followed the contours of the statute and case law, and

claimed only that they were privileged to photograph the murals because they were

“part of” the architectural work they were painted on. [Id., ¶ 61 (alleging

“Defendant’s mural was integrated into the façade of a building….”).]

B.     The Artists’ motions to dismiss, and MBZ’s response.

       The Artists moved to dismiss, on the ground that MBZ failed to properly

allege that the buildings in question were “architectural works,” other than to

simply assert as much as a naked conclusion. [Motion to Dismiss (Dkt. No. 8,

“MTD”), p. 3.] The Artists specifically cited MBZ’s failure to allege that the

buildings in question were erected prior to 1990 and were “original”—which are

uncontroversially elements of a copyrighted architectural work.5 Again, MBZ


5
  The Artists moved to dismiss on a number of other grounds as well, which are not the subject
of this motion. Plaintiff does not seek reconsideration of the Court’s refusal to dismiss MBZ’s
(footnote continues)

                                                5
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19              PageID.353     Page 14 of 28




considered it necessary to affirmatively allege the existence of an architectural

work in order for Section 120(a) to apply. [Complaint, ¶ 64.] The Artists’ motion

was simply a challenge to allege facts supporting the existence of an architectural

work.

        In response to the Artists’ contention that “originality” of the building in

question is a prerequisite to application of Section 120(a), MBZ for the first time

argued that there need not be any “copyright in an architectural work” for Section

120(a) to apply. Specifically, MBZ argued:

        Defendants incorrectly argue that MBUSA must allege the Building is
        "original" and "protected by copyright." Br. at 17. This makes no
        sense. Section 120(a) allows photography of architectural works
        regardless of whether they are protected by copyright and does not
        contain any requirement of protectability. "Originality" is not included
        within the definition of "architectural work" as used in Section 120(a)
        See 17 U.S.C. § 101. The only requirement of originality is found
        within Section 102(a), which defines the scope of copyrightable
        matter as "original works of authorship;" but this section does not
        limit Section 120(a)'s right to photograph publicly visible buildings.
        See 17 U.S.C. § 102(a). [Plaintiff’s Opposition to Motion to Dismiss
        (Dkt. No. 13, “Opp.”), p. 16.]




complaints for lack of personal jurisdiction and ripeness. The Artists also does not seek
reconsideration of most of the Court’s order relating to the AWCPA, including that the Artists’
argument that the murals were protectable as PGS works was not “not appropriate on a motion to
dismiss.” [Memorandum and Order Denying Defendants’ Motions to Dismiss (Docket No. 24)
(“Order”), p. 11, fn 2].




                                              6
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19         PageID.354    Page 15 of 28




      MBZ offered a similar response to the Artists’ contention that post-1990

construction of the photographed building is a prerequisite to application of

Section 120(a):

      Defendants obliquely suggest that Section 120(a) is inapplicable to
      buildings constructed before December 1, 1990. See Br. at 20.
      Defendants argue that "the AWCPA does not protect architectural
      works published prior to ... December 1, 1990." Br. at 20 (emphasis
      added) (citing 37 CFR § 202.1 l(d)(3)(i)). But the regulation that
      Defendants rely on provides only that buildings constructed before
      December 1, 1990 "cannot be registered" for copyright protection. 37
      CFR § 202.1 l(d)(3)(i). That is not an issue in this case. The relevant
      statute here, Section 120(a), is not about the protection of architectural
      works; it concerns the right to photograph publicly visible buildings, a
      right Defendants cite absolutely no authority to undermine. [Id., pp.
      17, 18 (emphasis in original).]

C.    The Court’s ruling tracked MBZ’s opposition language quoted above,
      virtually verbatim.

      The Court’s ruling simply repeats MBZ’s language quoted just above,

virtually verbatim. [Id.; cf. Order, § IV(C), pp. 11-13.] Beyond shortening the

passages where it could, and toning down what might be described as MBZ’s less-

than-judicial tone, the Court simply accepted as true the precise analysis that MBZ

offered. As a result, the Court declined to dismiss Plaintiff’s third declaratory relief

claim, for a declaration of non-infringement pursuant to the AWCPA.

         III.     THE COURT SHOULD RECONSIDER ITS RULING

      There are stunning mistakes of law in MBZ’s language, which found their

way into the Court’s order. For example, and for reasons explained below, the



                                           7
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19         PageID.355     Page 16 of 28




Court’s statement, supplied by MBZ, that “Section 120(a) does not contain any

requirement of protectability,” borrowed from MBZ, could not be more wrong.

Again, if there is no “copyright in an architectural work,” which are the first words

in, and the title of Section 120(a), then the statute is simply not invoked. The

Court, following MBZ, states that “‘Originality’ is not included within the

definition of ‘architectural work’ as used in Section 120(a). [Order, p. 12.] That’s

technically true. But Section 120(a) applies to “the copyright in an architectural

work,” which unquestionably requires originality (as all copyrights do). See, e.g.,

Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991) (“To qualify

for copyright protection, a work must be original to the author.”); 17 USC § 102.

A.    The standard on a motion for reconsideration.

      Local Rule 7.1(h)(3) allows a party to move for reconsideration by showing

a “palpable defect” by which the court and the parties have been misled, and that

correcting the defect will result in a different disposition of the case. L.R.

7.1(h)(3). A “palpable defect” is “a defect that is obvious, clear, unmistakable,

manifest or plain.” United States v. Lockette, 328 F.Supp.2d 682, 684 (E.D.Mich.

2004). The decision to grant reconsideration lies largely within the discretion of the

court. DiPonio Const. Co. Inc. v. International Union of Bricklayers and Allied

Craftworkers, Local 9 7̧ 39 F. Supp. 2d 986, 1004 (E.D. Mich. 2010).




                                           8
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19                    PageID.356       Page 17 of 28




B.      Copyright protection for buildings constructed prior to 1990.

        Buildings constructed prior to 1990 are generally not protected by copyright,

because they are considered “useful articles,” like apparel and furniture. See

Leicester v. Warner Bros., 232 F.3d 1212, 1216 (9th Cir., 2000). Prior to 1990,

photography of buildings was allowed—and that law remains unchanged with

regard to pre-1990 buildings. There has never been a need for legislation allowing

photography of pre-1990 buildings.6

C.      The AWCPA protected architecture for the first time, by adding
        “architectural works” as a new species of copyrightable work.

        In 1990, the United States became a member of the Berne Convention for

the Protection of Literary and Artistic Works, which is described in the legislative

history of the AWCPA as “the world's most important copyright treaty.”7 In order

to formally accede to the treaty, the U.S. was required to change its copyright law

in various ways. To comply with Berne’s requirement that copyright protect




6
 Much has been written regarding the extent to which separable elements of PGS works
embodied in a useful articles (like murals on a building, decorations on clothing, or ornament on
furniture) are protected, culminating in the Supreme Court’s Star Athletica decision in 2017.
PGS works embodied in useful articles, such as murals on pre-1990 buildings, are protected by
copyright as “pictorial works,” as long as they are “conceptually separable” from the underlying
useful article (i.e. the building). See, e.g., Star Athletica L.L.C. v. Varsity Brands, Inc., 137 S. Ct.
1002, 1007.
7
 See, Hearing on Architectural Design Protection Before the Subcomm. on Courts, Intellctll
Property, and the Administration of Justice of the House Comm. on the Judiciary, 101st Cong.
2d Sess. (1990) ("Architectural Design Hearings,” attached for convenience as Exhibit B), p. 9.



                                                   9
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19                  PageID.357       Page 18 of 28




“works of architecture,”8 Congress passed the AWCPA. [Pub. L. No. 101-650, §§

701-706, 104 Stat. 5133 (1990).] This legislation has one simple objective: “to

make only those changes in domestic U.S. law required to place the United States

in compliance with our treaty obligations.” Id. at 10. “The sole purpose of

legislating at this time is to place the United States unequivocally in compliance

with its Berne Convention obligations.” Id. at 20.

       The AWCPA is less than one page, and quite straightforward. Extending

copyright protection to architectural works was accomplished in less than fifty

words, highlighted in yellow. Specifically, the AWCPA:

    • Added a definition of “architectural work” (essentially, the design of a
      building).17 USC 101. [H.R. Rep. 101-735, p. 3.]
    • Made such “architectural works” the eighth category of works eligible for
      copyright protection (along with things like “literary works” and “musical
      works”). 17 USC 102. [Id.]9

       The next part of the AWCPA enacts Section 120, an entirely new statute.

[Id.] Section 120 imposes several limitations on the new species of copyrights, in

response to worries that the customary rights of copyright ownership would go too

8
  The treaty states that certain literary and artistic works, including “works of architecture,” must
enjoy protection in participating countries. See World Intellectual Property Organization, Berne
Convention for the Protection of Literary and Artistic Works, arts. 2, 4, Sept. 18, 1979, 828
U.N.T.S. 221, available at http://www.wipo.int/treaties/en/text.jsp?file_id=283698#P105 _16290
[http://perma.cc/YH2E-44EL].
9
  An “architectural work” is the design of a building, whether or not protected by copyright. If
the building meets certain requirements (including originality and post-1990 construction), then
it is protected by a “copyright in an architectural work” ____.




                                                 10
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19                 PageID.358       Page 19 of 28




far if applied to buildings. In this regard, an original version of Section 120

provided that the copyrights in architectural works could not be used to (1) enjoin

construction, or order demolition, of a building, (2) interfere with a building

owner’s ability to alter or improve a building with obtaining the architect’s

approval, and (3) to prevent photography of a publicly visible building.

[Architectural Design Hearings, p. 3 (text of H.R. 3990).].10

D.     The Court wrongly conceived of Section 120(a) as generally permitting
       photography of visible buildings.

       The parties have adopted two starkly different conceptions of Section

120(a). MBZ, and the Court, believe the statute establishes a right to photograph

publicly visible buildings. [See, Soto Opp. § III, p. 15; cf. Order, p. 10 (quoting

same).] Under this interpretation of Section 120(a), the Court found no problem in

MBZ’s failure to properly allege the existence of an architectural work.

       The Artists believe that Section 120(a)—like the other subsections of the

statute—was included in the AWCPA only to place an important limitation on the

new species of copyright Congress created therein: the “copyright in an

architectural work” which requires both originality and post-1990 construction.11


10
  In the final version of the Section 120, the first limitation was dropped but the other remain.
[H.R. Rep. 101-735, p. 3.]
11
   The originality requirement applies to all copyrights, including copyrights in works of
architecture. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991) (“To qualify
for copyright protection, a work must be original to the author.”); 17 USC § 102. The post-1990
(footnote continues)

                                                11
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19                 PageID.359      Page 20 of 28




       MBZ’s interpretation can make sense at first glance. Why would something

need to be copyrighted, in order to be exempt from copyright? But as explained

below, the exemption only applies where there is a copyright in an architectural

work because the public has always been, and remains, free to photograph all other

buildings, which are uncopyrightable useful objects (although still subject to

copyrights in conceptually separable PGS works). Without Section 120(a), the new

species of “architectural copyright” would make an infringer of anyone snapping

pictures in the vicinity of a new building. As argued below, Section 120(a) merely

preserves the right to photograph with respect to post-1990 buildings, despite their

new copyright protection.

       1.      The plain words of the Section 120 show that it qualifies only the
               new “copyright in an architectural work.”

       The words of Section 120(a) show that it places a limit only on the new

species of copyright Congress created in the lines of legislation just above it. For

one thing, the title of Section 120(a) is “Scope of exclusive rights in architectural

works.”12 If Congress had intended to establish a general right to photograph


requirement is stated in the last sentence of the AWCPA, and contained in the Federal Register at
37 C.F.R. § 202.11(c)(1).
12
  Copyright is a bundle of six “exclusive rights” enumerated in Section 106—including for
example the right to reproduce the work, the right to prepare derivative works, and the right to
distribute copies. 17 U.S.C. § 106(1)-(3). These are the “exclusive rights” referenced in the title
of Section 120. Section 120(a) limits these rights for architectural copyrights, in that they weaken
the exclusive right to distribute copies of the work by disallowing the holder of a copyright in an
architectural work to prevent photography.



                                                12
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19        PageID.360    Page 21 of 28




buildings, the title certainly would have referred to all copyrights, such as “Scope

of exclusive rights in protected works.”

      The words of the actual statute are just as clear:

             The copyright in an architectural work that has been constructed
             does not include the right to prevent the making... of photographs of
             the work.... (emphasis added).

      It's hard to imagine language that more clearly contradicts MBZ’s claim that

Section 120(a) was enacted to allow photography of all buildings. The statute

provides only that a “copyright in an architectural work” shall be limited, in that

such a copyright cannot be used to prevent photography of the building in

question. The statute says nothing about non-copyrighted buildings, or non-

architectural copyrights. If Congress wished to establish an important right to

photograph buildings, it would surely have provided something like “None of the

exclusive rights granted by copyright shall not prevent photography of publicly

visible buildings.”

      It’s also significant that Congress provided that the entire AWCPA, (“the

amendments made by this title”), which certainly includes Section 120(a), applies

only to buildings which post-date the act. [AWCPA, Section 206.] That Section

120(a) is subject to this post-1990 requirement is absolutely inconsistent with the

Court’s finding that it establishes a general right to photograph all buildings, even

those erected before 1990.



                                           13
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19        PageID.361     Page 22 of 28




      2.     The other parts of Section 120 show that the statute concerns
             limiting only architectural copyrights.

      As mentioned, Section 120 originally included three sub-sections. As

explained above, the other two clearly imposed limitations only on architectural

copyrights, by removing rights normally attendant to copyright (such as the right to

enjoin infringement, the right to control alteration, and the right to prevent

photography). Congress lumped these three provisions together, in a section titled

“Scope of exclusive rights in architectural works,” because they are parallel ways

in which architectural copyrights involve less protection than all other species.

      Section 120 is closely analogous to another instance of Congress creating a

new category of copyrightable work, and then limiting such copyrights for policy

reasons, through an ad hoc statute titled “Scope of….”. In 1976, Congress

extended copyright to “sound recordings” for the first time. But worried that such

copyrights could interfere with the public’s enjoyment of the performance of sound

recordings, Congress enacted Section 114, which provides that the “exclusive

rights of the owner of copyright in a sound recording are limited… and do not

include any right of performance….” The title of Section 114 is “Scope of

exclusive rights in sound recordings.”




                                          14
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19       PageID.362    Page 23 of 28




      3.     That Section 120(a) is part of the AWCPA shows that it limits
             only the new copyrights created thereunder.

      The AWCPA is a surgical strike legislation. Its brevity is striking, and its

only purpose is to provide exactly as much protection for architecture as Berne

required. H.R. Rep. 101-735, at 10. That Section 120(a) is part of the AWCPA

confirms that it limits only the new copyrights created thereunder. At the top of the

page, Congress created architectural copyrights. Just below, it limited them in

ways that are not typical for copyrights. If Congress wished to allow photography

of buildings generally, it would not have done so as part of legislation creating new

copyrights for post-1990 original buildings.

      4.     Case law support the Artists’ conception.

      No court has explicitly addressed the question of whether Section 120(a)

establishes a general right to photograph buildings, or whether it merely represents

a limitation on architectural copyrights. Really, the distinction only matters when

the question is whether a PGS work on or in architectural work is infringed by a

photograph. There have been exactly two such cases: the Ninth’s circuit split

decision in Leicester, and the district court’s decision in Falkner, which probably

represents the best explanation of Leicester. Leicester v. Warner Bros., 232 F.3d

1212 (9th Cir. 2000)(“Leicester”); Falkner v. GM, LLC (C.D.Cal. 2018) No. 2:18-

cv-00549-SVW-JPR) 2018 U.S.Dist.LEXIS 225991 (“Falkner”).




                                         15
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19         PageID.363    Page 24 of 28




      Both of these cases show that the Artists’ view of Section 120(a) is the

correct one, because a central question in each is whether the PGS work was “part

of” the architectural work in question. Leicester, supra, at 1219, 1222, 1225;

Falkner, supra, at *15. Under MBS’s conception, that question would be of no

consequence because the only inquiry is whether the allegedly infringing work is a

photograph of a building. Under the Artists’ conception, it is a key question

because Section 120(a) has nothing to say about whether PGS works that are not

“part of” the architecture.

      The following passage from Falkner makes clear that both it and Leicester

rely on the proposition that Section 120(a) limits only architectural works

(including anything a part thereof).

      All three judges on the Ninth Circuit panel unambiguously agreed
      that, for Section 120(a) to apply to a PGS work that is not itself an
      architectural work, the PGS work must be "part of" an architectural
      work (citations omitted). In other words, in order for a PGS work to
      be treated as an architectural work (and thus be subject to the Section
      120(a) exception that limits the protection of architectural works), the
      PGS work must either be an independent architectural work or be
      "part of" an architectural work. [Falkner v. GM, LLC 2018
      U.S.Dist.LEXIS 225991, at *15, 16 (C.D.Cal. Sep. 17, 2018, No.
      2:18-cv-00549-SVW-JPR).]

      Even Justice Tashima in Leicester, whose concurrence is considered the

strongest interpretation of Section 120(a) in that he alone believes that that statute

can trump even copyrights in PGS works, believes that the statute can only apply

where such PGS work is “part of” the architecture and a “joint architectural/artistic


                                          16
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19            PageID.364     Page 25 of 28




work.” Leicester at 1222 (Tashima concurrence) (agreeing with trial court that

“[i]n these factual circumstances, where a joint architectural/artistic work functions

as part of a building,” Section 120(a) applies even to the PGS aspects of the work).

       5.     The legislative history of the AWCPA shows that it limits only the
              new copyrights created thereunder.

       The AWCPA’s legislative history makes clear no legislators, experts, or

other witnesses conceived of it as establishing a general right to photograph

buildings—rather all participants saw the statute as way to preserve the right to

photograph buildings by limiting their new copyright protection. For one thing, the

legislative history states as much: that it is only “limiting the exclusive rights in

architectural works.” [H.R. Rep. 101-735, p. 21].

       The substance of the analysis and debate confirms the Artists’ interpretation.

There is much analysis of whether architects’ lost income on unauthorized

photographs would unduly interfere with their incentive to create. [See, e.g.

Architectural Design Hearings, pp. 69-71.] There is much balancing of architects

and photographers’ competing interests.13 [Id.] There is, however, no analysis of

the interests of visual artists, or input from visual artist groups. If the Court and

MBZ are correct that Section 120(a) trumps all copyright, visual artists’ copyrights


13
  The Subcommittee considered the testimony of a well-known American architect (Michael
Graves, FAIA), the American Institute of Architects, The Frank Lloyd Wright Foundation, the
American Consulting Engineers Council and the American Society of Magazine Photographers.



                                            17
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19         PageID.365     Page 26 of 28




would be radically weakened. Congress would not blithely impose a such a

significant limit on visual artists’ rights without their input and analysis.

      In fact, legislators were extremely interested in visual artists rights at the

same time they were debating the AWCPA and its Section 120—also due to the

requirement that the U.S. change its copyright law to adhere to Berne Convention

minimum standards. To comply with Berne, Congress passed (also in 1990) the

Visual Artists’ Rights Act (known as “VARA”), which dramatically strengthened

visual artists rights. The same legislator, Robert Kastemeier, introduced both bills.

It is inconceivable that at the same time Congress was compelled to strengthen

visual artists copyright rights, it would have simultaneously truncated those rights

without analysis. Indeed, if the AWCPA limited visual artists’ rights in the way

that follows from the Court’s interpretation, surely someone would have asked if

this was even permissible under Berne’s minimum standards.

E.    The Court should reconsider its ruling because under the Artists’
      proper conception of Section 120(a), MBZ’s AWCPA claims should
      have been dismissed for failure to plead that the building was
      protectable.

      One fundamental piece of the Artists’ correct conception of Section 120(a) is

that the statute has absolutely no application if there is no underlying “copyright in

an architectural work.” Contrary to the Court’s ruling, this makes “protectability”

an essential element of MBZ’s Section 120(a) claim.




                                           18
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19        PageID.366     Page 27 of 28




      MBZ will argue that the Artists are merely trying to rehash already rejected

arguments. While it is true that the Artists previously argued that protectability of

the subject building is an element of the applicability of Section 120(a), and that it

cited in plain language of the statute as proof, a motion for reconsideration does

not require new facts or law. Reconsideration is well within the Court’s discretion,

especially because it was “misled” in the sense that it adopted, virtually verbatim,

MBZ’s faulty explication of the law.

                                 Respectfully Submitted,


DATED: October 9, 2019
                                 By:         /s/ David Alden Erikson
                                       ERIKSON LAW GROUP
                                       David Alden Erikson
                                       200 North Larchmont Boulevard
                                       Los Angeles, California 90004
                                       Telephone: 323.465.3100
                                       david@daviderikson.com

GLUCK LAW FIRM P.C.                    LIPPITT, O’KEEFE, GORNBEIN, PLLC
Jeffrey S. Gluck                       Norman L. Lippitt (P16716)
602 N. Sweetzer Avenue                 370 E. Maple Road, Third Floor
Los Angeles, California 90048          Birmingham, MI 48009
Telephone: 310.776.7413                248-646-8292
jeff@gluckip.com                       nlippitt@lippittokeefe.com

   Counsel for Defendants and Counter-Plaintiffs James Lewis, Jeff Soto, Maxx
                         Gramajo Daniel Bombardier




                                          19
Case 2:19-cv-10948-AC-EAS ECF No. 31 filed 10/09/19       PageID.367    Page 28 of 28




                         CERTIFICATE OF SERVICE

      I hereby certify that on October 9, 2019, I electronically filed the foregoing

DEFENDANTS’ MOTION FOR RECONSIDERATION with the Clerk of the

Court using the ECF system, which will send notification of such filing to all

counsel of record.



                                       By:    /s/ David Alden Erikson
                                              David Alden Erikson
                                              200 North Larchmont Boulevard
                                              Los Angeles, California 90004
                                              Telephone: 323.465.3100
                                              david@daviderikson.com




                                         20
